
USCA1 Opinion

	













        January 25, 1996        [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS

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        No. 95-1186 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   MICHAEL BARNETT,

                                Defendant, Appellant.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
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                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
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            Michael Barnett on brief pro se.
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            Donald K. Stern, United States  Attorney, and Michael D. Ricciuti,
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        Assistant United States Attorney, on brief for appellee.


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                 Per Curiam.  Pro se defendant Michael  Barnett appeals a
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            district  court order  that summarily  denied his  motion for

            relief from his sentence under 28 U.S.C.   2255.  Barnett was

            convicted of three offenses  arising out of his participation

            in a  conspiracy to manufacture methamphetamine.   See United
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            States v. Barnett, 989 F.2d 546 (1st Cir.), cert. denied, 114
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            S. Ct. 148  (1993).  He  was sentenced to  a total of  thirty

            years'  imprisonment.    Barnett's  motion  and  supplemental

            filings  alleged  that  his sentence  was  the  result  of an

            improper application  of the Sentencing Guidelines.   He also

            claimed  that  his  sentence  violated  the  Double  Jeopardy

            Clause.

                 We have thoroughly reviewed  the record and the parties'

            briefs  on appeal.   We  conclude that  Barnett's claims  are

            wholly  lacking in  merit  and that  his motion  was properly

            denied.   Briefly, neither of Barnett's  claims is cognizable

            under 28 U.S.C.   2255 unless Barnett shows "cause" to excuse

            his procedural  default  and  prejudice  resulting  from  the

            alleged errors, or  that the failure  to consider his  claims

            will  result in  a  fundamental miscarriage  of justice.  See
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            Levasseur v.  Pepe, 70 F.3d  187, 192 (1st  Cir. 1995)(citing
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            Coleman  v. Thompson, 501 U.S. 722, 750 (1991)).  Barnett has
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            failed to make either  showing.  Barnett's claim that  he did

            not possess  the 50 kilogram container  of pseudoephedrine as

            part of the  conspiracy appears to be frivolous where Barnett



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            admitted that he was the "chemist" for the conspiracy and his

            codefendant was recorded  saying that he and his  chemist had

            ingredients to  make 40 pounds  of methamphetamine.   Even if

            the contention has  some merit, it  cannot be said  to be  so

            obvious or strong  that counsel's failure to  raise the point

            amounted to ineffective assistance.  See Jones v. Barnes, 463
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            U.S. 745, 750-54  (1983)(counsel has no  duty to raise  every

            nonfrivolous issue requested by defendant).  Barnett's Double

            Jeopardy claim is also meritless.   As each of his counts  of

            conviction required proof of  an element that the  others did

            not, his sentence does not violate the Double Jeopardy Clause

            under the familiar Blockburger test.  
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                 On appeal,  Barnett argues that U.S.S.G.   2D1.11 (1994)

            requires  that he  be resentenced  to a  substantially lesser

            term.  We have considered this argument,  although it was not

            made below, because  2D1.11  was not retroactive when Barnett

            submitted his   2255 motion.  We conclude that this guideline

            does not entitle Barnett to any relief from his sentence.  To

            the contrary, Barnett  would have  been subject  to the  same

            offense level under  2D1.11, comment. n. 3.  Accordingly, the

            judgment of the district court is affirmed.
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